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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

www.flmb.uscourts.gov

In re:
CFRA HOLDINGS, LLC

CFRA, LLC
CFRA TRI-CITIES, LLC

Debtors.

/

 

Chapter 11
Case No. 8:20-bk-03608-CPM

Jointly Administered with:

Case No. 8:20-bk-03609-CPM
Case No. 8:20-bk-03610-CPM

SUNCAKES, LLC NOTICE OF DESIGNATION OF ASSUMPTION
AND ASSIGNMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

COMES NOW SunCakes, LLC, pursuant to that certain Order (A) Approving the Sale of
Substantially All of the Debtors’ Assets, (B) Authorizing the Sale Free and Clear of All

Encumbrances, and (C) Authorizing Assumption and Assignment of Executory Contracts and

Unexpired Leases (the “Sale Order’) [Docket No. 197] and designates the following contracts to

be assumed by the Debtors and assigned to SunCakes, LLC.

 

Assembly Restaurant, LLC

 

Lease )Store #419"

 

 

| CFRA, LLC

 

 

 

 

 

 

 

 

 

C&J Associates Lease — Store #494 CFRA, LLC
Alcimedes, Inc. Lease — Store #2027 CFRA, LLC
6851 Lennox, LLC Lease — Store #597 CFRA, LLC
Casual Dining Smyrna, LLC Lease — Store #3218 CFRA, LLC
Nashville West Shopping Center, | Lease — Store #3326 CFRA, LLC
LLC

Cooke Properties Lease — Store #3383 CFRA, LLC
Ballantyne Property Group, LLC | Lease —Store #3423 CFRA, LLC
Promenade Shopping Center, Lease — Store #3453 CFRA, LLC
LLC

 

 

 

 

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With the exception of the landlord for Nashville West Shopping Center, LLC (Store
#3326), SunCakes, LLC and each of the landlords listed above have reached agreement as to the
terms of assumption and assignment of each of the foregoing leases, as such, the agreed upon
cure amounts are not listed. Inasmuch as Nashville West Shopping Center, LLC has been
unresponsive to SunCakes, LLC’s overtures, SunCakes, LLC does not know the amount

Nashville West Shopping Center, LLC claims for cure rent.

Pursuant to paragraph 6 of the Sale Order, any counterparty listed above that objects to
the proposed assumption and assignment to SunCakes, LLC must file an objection within three

business days of the filing of this notice.

Dated: July 24, 2020 Respectfully Submitted

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Timothy S.C ws
Its Chief Legal Officer

 

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